                                                           Case 21-14486-abl          Doc 309        Entered 07/17/24 13:41:21              Page 1 of 144



                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
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                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law
                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                         UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                               FOR THE DISTRICT OF NEVADA
                                                      10

                                                      11    In re:                                                   Case No.: 21-14486-abl
                                                                                                                     Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12    INFINITY CAPITAL MANAGEMENT,
                                                            INC.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                            Debtor.                                  Date of Hearing: August 22, 2024
                                                      14                                                             Time of Hearing: 9:30 a.m.

                                                      15
                                                                     MOTION TO ENFORCE COURT ORDERS AND REQUIRE HEALTHPLUS
                                                      16              IMAGING OF TEXAS, LLC AKA HEALTHPLUS IMAGING, LLC TO
                                                                        REMIT PAYMENTS RELATING TO ACCOUNTS RECEIVABLE
                                                      17
                                                                     HASelect-Medical Receivables Litigation Finance Fund International LP (“HASelect”)
                                                      18
                                                           moves this Court to enforce this Court’s prior order approving abandonment of collateral [ECF
                                                      19
                                                           No. 97] (the “Abandonment Order”), this Court’s prior order granting HASelect relief from stay
                                                      20
                                                           pursuant to 11 U.S.C. § 362 1 [ECF No. 106] (the “Relief Order” and collectively with the
                                                      21
                                                           Abandonment Order, the “Orders”) with respect to various accounts receivable and collections
                                                      22
                                                           thereon that are in the hands of third parties HealthPlus Imaging of Texas, LLC aka HealthPlus
                                                      23
                                                           Imaging, LLC (“HealthPlus”) and its former owners, Stephanie Lam (“Stephanie”) and Diane Lam
                                                      24
                                                           (“Diane” and together with Stephanie, the “Lams”).
                                                      25

                                                      26
                                                           1
                                                             Unless otherwise stated, all “Chapter” and “Section” references are to Title 11 of the U.S. Code (the “Bankruptcy
                                                      27   Code”), all “Bankruptcy Rule” references are to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),
                                                           and all references to “Local Rules” are to the Local Rules of Bankruptcy Practice for the U.S. District Court for the
                                                      28   District of Nevada (the “Local Rules”).



                                                                                                               Page 1 of 9
                                                           Case 21-14486-abl             Doc 309        Entered 07/17/24 13:41:21           Page 2 of 144



                                                       1
                                                                      This Motion is made and based upon the following points and authorities, all exhibits
                                                       2
                                                           submitted herewith, all documents and papers on file in the above-captioned Bankruptcy Case, and
                                                       3
                                                           any oral argument that the Court may entertain at the hearing on this Motion.
                                                       4
                                                                                     MEMORANDUM OF POINTS AND AUTHORITIES
                                                       5
                                                                                                           RELEVANT FACTS
                                                       6
                                                                      1.       Beginning in February 2019, HASelect made a series of loans to Debtor Infinity
                                                       7
                                                           Capital Management, Inc. (“Debtor” or “Infinity”) that were documented through various written
                                                       8
                                                           loan agreements and promissory notes (collectively, the “Loan”) through which Infinity pledged
                                                       9
                                                           substantially all of its personal property, including all accounts receivable, to HASelect as
                                                      10
                                                           collateral for such Loan. 2
                                                      11
                                                                      2.       HASelect perfected its security interest in all of Infinity’s personal property through
              1731 Village Center Circle, Suite 150




                                                      12
                                                           the filing of a UCC-1 with the Nevada Secretary of State on February 19, 2019. 3
                   Las Vegas, Nevada 89134
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                                                      13
                        (702) 471-7432




                                                                      3.       Debtor Infinity Capital Management, Inc. (“Debtor” or “Infinity”) filed its voluntary
                                                      14
                                                           chapter 7 petition in the United States Bankruptcy Court for the District of Nevada (the “Bankruptcy
                                                      15
                                                           Court”) on September 14, 2021 (the “Petition Date”), commencing this chapter 7 bankruptcy case.
                                                      16
                                                                      4.       As of the Petition Date, Infinity owed secured indebtedness in excess of $15 million
                                                      17
                                                           to HASelect. 4
                                                      18
                                                                      5.       Prior to the Petition Date, Infinity’s business operations generally involved the
                                                      19
                                                           purchasing of accounts receivables from medical providers. Such receivables typically arose from
                                                      20
                                                           medical treatment or prescription medication provided to individuals who were injured in
                                                      21
                                                           accidents and had asserted personal injury claims arising from such accidents. 5
                                                      22
                                                                      6.       In its bankruptcy schedules, Infinity identified, among other assets, certain rights
                                                      23

                                                      24
                                                      25   2
                                                             See Declaration of Michael Griffin filed in this case on September 22, 2021 at ECF No. 18 (the “Griffin
                                                           Declaration”), ¶ 5.
                                                      26
                                                           3
                                                               Id. at ¶ 6. A copy of this UCC-1 filing is on file herein at ECF No. 57-2.
                                                      27   4
                                                               See Griffin Declaration, ¶ 12.
                                                      28   5
                                                               See Griffin Declaration, ¶ 13.



                                                                                                                   Page 2 of 9
                                                           Case 21-14486-abl             Doc 309        Entered 07/17/24 13:41:21               Page 3 of 144



                                                       1
                                                           and ownership interests in outstanding accounts receivable (the “HASelect Accounts”) 6 it had
                                                       2
                                                           acquired or otherwise funded as collateral for the indebtedness Infinity owed to HASelect in
                                                       3
                                                           connection with the Loan. 7
                                                       4
                                                                      7.       On September 22, 2021, HASelect and the Trustee filed a joint motion 8 through
                                                       5
                                                           which the Trustee requested the Court approve the abandonment of the HASelect Accounts and
                                                       6
                                                           other personal property pledged as collateral (collectively, the “Collateral”) for the Loan.
                                                       7
                                                                      8.       On October 15, 2021, the Court entered the Abandonment Order 9 approving the
                                                       8
                                                           Trustee’s abandonment of the Collateral to HASelect. Among other things, the Abandonment
                                                       9
                                                           Order instructs that any person who “is or may come into possession of any of the Collateral is
                                                      10
                                                           hereby authorized and directed to turn over such Collateral to HASelect.”
                                                      11
                                                                      9.       On September 22, 2021, HASelect also filed a motion for relief from automatic
              1731 Village Center Circle, Suite 150




                                                      12
                                                           stay 10, requesting that the stay be terminated to allow HASelect to take possession and control of
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
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                                                           the Collateral.
                                                      14
                                                                      10.      On October 21, 2021, the Cout entered the Relief Order 11 terminating the automatic
                                                      15
                                                           stay as requested by HASelect. Similar to the Abandonment Order, the Relief Order instructs that
                                                      16
                                                           any person who “is or may come into possession of any of the Collateral is hereby authorized and
                                                      17
                                                           directed to turn over such Collateral to HASelect.”
                                                      18
                                                                      11.      In entering the Abandonment Order and Relief Order, the Court retained
                                                      19
                                                           jurisdiction regarding matters pertaining to the enforcement of such Orders.
                                                      20
                                                                      12.      In November 2019, Infinity entered into a written agreement with HealthPlus,12
                                                      21
                                                      22   6
                                                             See ECF No. 47. The HASelect Accounts are not included within and do not overlap with the disputed accounts
                                                           receivable at issue in Adversary Case No. 21-01167-abl.
                                                      23
                                                           7
                                                             For the sake of clarity, this Motion does not seek any relief whatsoever relating to any account receivable in which
                                                      24   Tecumseh-Infinity Medical Receivable Fund, LP claims an interest.
                                                           8
                                                               ECF No. 12.
                                                      25
                                                           9
                                                               ECF No. 97. A copy of the Abandonment Order is attached hereto as Exhibit 1.
                                                      26
                                                           10
                                                                ECF No. 17.
                                                      27   11
                                                                ECF No. 106. A copy of the Relief Order is attached hereto as Exhibit 2.
                                                      28   12
                                                                Infinity’s written agreement with HealthPlus is attached hereto as Exhibit 3.



                                                                                                                   Page 3 of 9
                                                           Case 21-14486-abl          Doc 309      Entered 07/17/24 13:41:21             Page 4 of 144



                                                       1
                                                           under which Infinity purchased all rights to more than 4,700 accounts receivable arising from
                                                       2
                                                           services provided by HealthPlus with a collective gross face value of more than $14.5 million (the
                                                       3
                                                           “HealthPlus Accounts”). 13
                                                       4
                                                                      13.     Under the terms of Infinity’s contract with HealthPlus, Infinity was entitled to
                                                       5
                                                           collect all outstanding balances owed in connection with the HealthPlus Accounts. HealthPlus did
                                                       6
                                                           not retain any right to collect or receive any proceeds on account of the HealthPlus Accounts it
                                                       7
                                                           sold to Infinity.
                                                       8
                                                                      14.     Infinity’s purchase of the HealthPlus Accounts was funded with Loan proceeds
                                                       9
                                                           advanced to Infinity by HASelect. The HealthPlus Accounts are included within the HASelect
                                                      10
                                                           Accounts referenced above and are subject to both the Abandonment Order and the Relief Order.
                                                      11
                                                           The HealthPlus Accounts are also subject to HASelect’s perfected first-priority security interest as
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                                                      12
                                                           collateral for the Loan.
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                                                                      15.     According to records produced by Infinity, the vast majority of the HealthPlus
                                                      14
                                                           Accounts remained outstanding and uncollected as of the Petition Date.
                                                      15
                                                                      16.     HealthPlus appeared in this case through counsel on September 30, 2021 [ECF No.
                                                      16
                                                           50] and later filed a limited objection to HASelect and the Trustee’s motion to approve the
                                                      17
                                                           abandonment of the Collateral to confirm that the Abandonment Order did not include certain
                                                      18
                                                           separate accounts receivable for which HealthPlus had provided electronic records to Infinity but
                                                      19
                                                           which had not been purchased by Infinity. 14
                                                      20
                                                                      17.     Following the entry of the Abandonment Order and Relief Order, HASelect
                                                      21
                                                           engaged certain third parties to act as its agents to collect the HealthPlus Accounts and other
                                                      22
                                                           HASelect Accounts.
                                                      23
                                                                      18.     HASelect is informed and believes that prior to the Petition Date and continuing
                                                      24
                                                           through approximately November 2022, HealthPlus was owned and managed by Diane Lam and
                                                      25
                                                           Stephanie Lam. HASelect is further informed and believes that Diane Lam and Stephanie Lam
                                                      26
                                                           13
                                                             A list of the HealthPlus Accounts that has been redacted to remove personal identifying information is attached
                                                      27   hereto as Exhibit 4.
                                                      28   14
                                                                See ECF No. 77.



                                                                                                              Page 4 of 9
                                                           Case 21-14486-abl             Doc 309           Entered 07/17/24 13:41:21     Page 5 of 144



                                                       1
                                                           sold their ownership interests in HealthPlus to a third party in or around November 2022.
                                                       2
                                                                      19.      Based on communications between HASelect’s agents and various third parties
                                                       3
                                                           obligated as to payment of the HealthPlus Accounts, HASelect is informed and believes that
                                                       4
                                                           HealthPlus, Diane Lam, and Stephanie Lam continued to collect and retain proceeds of the
                                                       5
                                                           HealthPlus Accounts after the Petition Date (and notwithstanding the entry of the Abandonment
                                                       6
                                                           Order and Relief Order) and did not turn such proceeds over to HASelect.
                                                       7
                                                                      20.      HASelect, through its agents, has attempted to contact HealthPlus and the Lams on
                                                       8
                                                           various occasions over the past two (2) years regarding the status and payment of collections on
                                                       9
                                                           HealthPlus Accounts.
                                                      10
                                                                      21.      HealthPlus and the Lams, however, have largely ignored HASelect’s efforts and
                                                      11
                                                           have failed or refused to provide any information regarding the HealthPlus Accounts or to remit
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                                                      12
                                                           payment to HASelect of proceeds collected on the HealthPlus Accounts.
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SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                      22.      In April 2024, HASelect served subpoenas on HealthPlus, Diane Lam, and
                                                      14
                                                           Stephanie Lam seeking information relating to the status of and collections on the HealthPlus
                                                      15
                                                           Accounts (the “HealthPlus Subpoenas”). 15
                                                      16
                                                                      23.      Shortly thereafter, an attorney with the law firm of Irelan McDaniel PLLC, which
                                                      17
                                                           appeared in this matter on behalf of HealthPlus in 2021, contacted the undersigned counsel by
                                                      18
                                                           telephone to advise that he was in receipt of the HealthPlus Subpoenas and that the Lams had sold
                                                      19
                                                           their interests in HealthPlus to a third party. That same attorney later provided two documents
                                                      20
                                                           relating to the sale of the Lams’ interests in HealthPlus but did not produce any documents relating
                                                      21
                                                           to the status of or collections on the HealthPlus Receivables or respond to the undersigned
                                                      22
                                                           counsel’s requests for additional information. 16
                                                      23
                                                                      24.      Neither HealthPlus, Diane Lam, nor Stephanie Lam otherwise made any effort to
                                                      24
                                                           respond to the HealthPlus Subpoenas.
                                                      25

                                                      26
                                                           15
                                                             Notices of the issuance of these subpoenas are on the Bankruptcy Court’s docket in this matter at ECF Nos. 300,
                                                      27   301, and 302. Affidavits of service relating to these subpoenas are attached hereto as Exhibit 5.
                                                      28   16
                                                                See Emails attached hereto as Exhibit 6.



                                                                                                                  Page 5 of 9
                                                           Case 21-14486-abl           Doc 309       Entered 07/17/24 13:41:21            Page 6 of 144



                                                       1
                                                                                                  JURISDICTION AND VENUE
                                                       2
                                                                      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334.
                                                       3
                                                           This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this district
                                                       4
                                                           pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                       5
                                                                                                            ARGUMENT
                                                       6
                                                                  A. The Court Should Order that the Lams and HealthPlus Turn Over All Amounts Due
                                                       7             And Provide an Accounting of All Collections of the HealthPlus Accounts.

                                                       8              The Court should compel HealthPlus and the Lams to immediately (i) cease and desist

                                                       9   from any further attempts to collect any outstanding amounts owed in connection with the

                                                      10   HealthPlus Accounts, (ii) provide a full accounting of all amounts they have collected on the

                                                      11   HealthPlus Accounts to date, (iii) turn over to HASelect all proceeds collected on the HealthPlus
              1731 Village Center Circle, Suite 150




                                                      12   Accounts to date, and (iv) turn over to HASelect any proceeds that they may collect on the
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   HealthPlus Accounts in the future. This relief is contemplated by the Court’s prior Orders and is
                        (702) 471-7432




                                                      14   necessary to effectuate them. This Court can and should enforce its prior Orders.

                                                      15              Every federal court, including this Court, has jurisdiction to enforce its own orders. See,

                                                      16   e.g., Travelers Indem. Co. v. Bailey, 557 U.S. 137, 151 (2009) (holding that the “Bankruptcy Court

                                                      17   plainly had jurisdiction to interpret and enforce its own prior order.”); In re United States Commer.

                                                      18   Mortg. Co., Case No. 06-10725, 2007 Bankr. LEXIS 5126 (D. Nev. July 2, 2007) (“Clearly, a

                                                      19   court retains jurisdiction to interpret and enforce its own orders.”).

                                                      20              This Court’s Relief Order and Abandonment Order expressly state that any person who “is

                                                      21   or may come into possession of any of the Collateral is hereby authorized and directed to turnover

                                                      22   such Collateral to HASelect.” 17 There is no language in either such Order that allows for a party in

                                                      23   possession of the Collateral to withhold the same without further orders from this Court. By way of

                                                      24   the Orders, HASelect holds all rights and interest that Infinity once had in the Collateral, including

                                                      25   Infinity’s rights to payment under its various contracts with HealthPlus as to the HealthPlus

                                                      26   Accounts. Accordingly, the Court should not hesitate to enforce its Orders by granting the relief

                                                      27

                                                      28   17
                                                                See Abandonment Order [ECF No. 97] and Relief Order [ECF No. 106], ¶ 8.



                                                                                                              Page 6 of 9
                                                           Case 21-14486-abl     Doc 309     Entered 07/17/24 13:41:21        Page 7 of 144



                                                       1
                                                           requested herein.
                                                       2
                                                                                                  CONCLUSION
                                                       3
                                                                  For the reasons stated above, HASelect respectfully requests that the Court enter an order
                                                       4
                                                           in substantially the same form as Exhibit 7 attached hereto enforcing the Orders as against
                                                       5
                                                           HealthPlus and the Lams and expressly requiring (i) that HealthPlus and/or the Lams immediately
                                                       6
                                                           turn over to HASelect all amounts due based on past collections of the HealthPlus Accounts, (ii)
                                                       7
                                                           that HealthPlus and/or the Lams promptly remit to HASelect all amounts coming due in the future
                                                       8
                                                           based on collections of the HealthPlus Accounts, and (iii) that HealthPlus and/or the Lams make
                                                       9
                                                           regular monthly reports to HASelect regarding collections of the HealthPlus Accounts, as
                                                      10
                                                           appropriate.
                                                      11
                                                                  DATED this 17th day of July 2024.
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                                                      SHEA LARSEN PC
                        (702) 471-7432




                                                      14                                                      By: /s/ Bart K. Larsen, Esq.
                                                                                                              BART K. LARSEN, ESQ.
                                                      15                                                      KYLE M. WYANT, ESQ.
                                                                                                              1731 Village Center Circle, Suite 150
                                                      16                                                      Las Vegas, Nevada 89134
                                                      17                                                      Attorneys for HASelect-Medical Receivables
                                                                                                              Litigation Finance Fund International SP
                                                      18

                                                      19
                                                      20

                                                      21
                                                      22

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                                                      27

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                                                                                                      Page 7 of 9
                                                           Case 21-14486-abl   Doc 309     Entered 07/17/24 13:41:21       Page 8 of 144



                                                       1                                 CERTIFICATE OF SERVICE
                                                       2         1.    On July 17, 2024, I served the following document(s): MOTION TO ENFORCE
                                                                       COURT ORDERS AND REQUIRE HEALTHPLUS IMAGING OF TEXAS,
                                                       3               LLC AKA HEALTHPLUS IMAGING, LLC TO REMIT PAYMENTS
                                                                       RELATING TO ACCOUNTS RECEIVABLE
                                                       4
                                                                 2.    I served the above document(s) by the following means to the persons as listed
                                                       5               below:
                                                       6                       a.    ECF System:
                                                       7         ROBERT E. ATKINSON
                                                                 Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       8
                                                                 CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                       9         clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                      10         BRADFORD IRELAN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS,
                                                                 LLC
                                                      11         birelan@imtexaslaw.com,
                                                                 jstephens@imtexaslaw.com;dhall@imtexaslaw.com;ynguyen@imtexaslaw.com
              1731 Village Center Circle, Suite 150




                                                      12
                                                                 DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS, LLC
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13         dmincin@mincinlaw.com, cburke@mincinlaw.com
                        (702) 471-7432




                                                      14         MICHAEL D. NAPOLI on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP
                                                      15         michael.napoli@akerman.com,
                                                                 cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;masterdocketlit@ake
                                                      16         rman.com
                                                      17         TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                                 trichards@sagebrushlawyers.com
                                                      18
                                                                 ARIEL E. STERN on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                      19         RECEIVABLES FUND, LP
                                                                 ariel.stern@akerman.com, akermanlas@akerman.com
                                                      20
                                                                 U.S. TRUSTEE - LV - 7
                                                      21         USTPRegion17.LV.ECF@usdoj.gov
                                                      22         MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                                 INC.
                                                      23         mzirzow@lzlawnv.com,
                                                                 carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;zirzow.matthewc.r99681
                                                      24         @notify.bestcase.com
                                                      25                       b.    United States mail, postage fully prepaid:

                                                      26         HEALTHPLUS IMAGING OF TEXAS, LLC AKA HEALTHPLUS IMAGING, LLC
                                                                 9000 Southwest Freeway, Suite 260
                                                      27         Houston, TX 77074

                                                      28


                                                                                                   Page 8 of 9
                                                           Case 21-14486-abl     Doc 309      Entered 07/17/24 13:41:21        Page 9 of 144



                                                       1
                                                                 STEPHANIE LAM
                                                       2         9707 Chipstead Circle
                                                                 Spring, TX 77379
                                                       3
                                                                 -and-
                                                       4
                                                                 1 Signature Point Drive, Apt. 1707
                                                       5         League City, TX 77573
                                                       6         DIANE LAM
                                                                 9707 Chipstead Circle
                                                       7         Spring, TX 77379

                                                       8                        c.       Personal Service:
                                                       9                 I personally delivered the document(s) to the persons at these addresses:
                                                      10                                         For a party represented by an attorney, delivery was made by
                                                                         handing the document(s) at the attorney’s office with a clerk or other person in
                                                      11                 charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                         in the office.
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                                 For a party, delivery was made by handling the document(s)
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                 to the party or by leaving the document(s) at the person’s dwelling house or usual
                        (702) 471-7432




                                                                         place of abode with someone of suitable age and discretion residing there.
                                                      14
                                                                                 d.      By direct email (as opposed to through the ECF System):
                                                      15                 Based upon the written agreement of the parties to accept service by email or a
                                                                         court order, I caused the document(s) to be sent to the persons at the email
                                                      16                 addresses listed below. I did not receive, within a reasonable time after the
                                                                         transmission, any electronic message or other indication that the transmission was
                                                      17                 unsuccessful.

                                                      18                        e.       By fax transmission:

                                                      19                 Based upon the written agreement of the parties to accept service by fax
                                                                         transmission or a court order, I faxed the document(s) to the persons at the fax
                                                      20                 numbers listed below. No error was reported by the fax machine that I used. A copy
                                                                         of the record of the fax transmission is attached.
                                                      21
                                                                                f.       By messenger:
                                                      22
                                                                         I served the document(s) by placing them in an envelope or package addressed to
                                                      23                 the persons at the addresses listed below and providing them to a messenger for
                                                                         service.
                                                      24
                                                                 I declare under penalty of perjury that the foregoing is true and correct.
                                                      25
                                                                 Dated: July 17, 2024.
                                                      26                                                 By: /s/ Bart K. Larsen, Esq.
                                                      27

                                                      28


                                                                                                       Page 9 of 9
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 10 of 144




                                         EXHIBIT 1
                                                           Case 21-14486-abl       Doc 309    Entered 07/17/24 13:41:21       Page 11 of 144



                                                       1
                                                       2
                                                       3

                                                       4

                                                       5
                                                       6    Bart K. Larsen, Esq.
                                                            Nevada Bar No. 8538
                                                       7    Kyle M. Wyant, Esq.
                                                            Nevada Bar No. 14652
                                                       8    SHEA LARSEN
                                                            1731 Village Center Circle, Suite 150
                                                       9    Las Vegas, Nevada 89134
                                                            Telephone: (702) 471-7432
                                                      10    Fax: (702) 926-9683
                                                            Email: blarsen@shea.law
                                                      11            kwyant@shea.law
              1731 Village Center Circle, Suite 150




                                                      12    Attorneys for HASelect-Medical Receivables
                                                            Litigation Finance Fund International SP
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14                              UNITED STATES BANKRUPTCY COURT
                                                      15                                       DISTRICT OF NEVADA

                                                      16    In re:
                                                                                                                     Case No. 21-14486-abl
                                                      17        INFINITY CAPITAL MANAGEMENT, INC.                    Chapter 7

                                                      18                           Debtor.
                                                                                                                     Date: October 12, 2021
                                                      19                                                             Time: 3:00 p.m.
                                                      20
                                                                 ORDER GRANTING JOINT MOTION OF CHAPTER 7 TRUSTEE AND SECURED
                                                      21        CREDITOR HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                                   INTERNATIONAL SP TO APPROVE ABANDONMENT OF COLLATERAL
                                                      22
                                                                     The Joint Motion of Chapter 7 Trustee and Secured Creditor HASelect-Medical Receivables
                                                      23
                                                            Litigation Finance Fund International SP to Approve Abandonment of Collateral [ECF No. 12] (the
                                                      24
                                                            Motion) filed by Chapter 7 Trustee Robert E. Atkinson (Trustee) and HASelect-Medical
                                                      25
                                                            Receivables Litigation Finance Fund International SP (HASelect) came before the Court for
                                                      26
                                                            hearing on October 12, 2021. The Trustee appeared personally and through his counsel of record,
                                                      27
                                                            Clarisse L. Crisostomo, Esq. of the law firm of Atkinson Law Associates Ltd. HASelect appeared
                                                      28


                                                                                                       Page 1 of 5
                                                           Case 21-14486-abl       Doc 309     Entered 07/17/24 13:41:21        Page 12 of 144



                                                       1
                                                            through its counsel of record, Bart K. Larsen, Esq. of the law firm of Shea Larsen. Debtor Infinity
                                                       2
                                                            Capital Management, Inc. (Debtor or Infinity) appeared through its counsel of record, Matthew
                                                       3
                                                            C. Zirzow, Esq. of the law firm of Larson & Zirzow. HealthPlus Imaging of Texas, LLC appeared
                                                       4
                                                            through its counsel of record, David Mincin, Esq. of the law firm of Mincin Law, PLLC and Jacob M.
                                                       5
                                                            Stephens, Esq. of the law firm of Irelan McDaniel, PLLC. Tecumseh  Infinity Medical Receivables
                                                       6
                                                            Fund, L.P. appeared through its counsel of record, Michael D. Napoli, Esq. of the law firm of Akerman
                                                       7
                                                            LLP.
                                                       8
                                                                   At the hearing, the Court heard argument and representations from counsel, deliberated
                                                       9
                                                            thereon, and then read its ruling into the record. All findings of fact and conclusions of law orally
                                                      10
                                                            stated by the Court at the hearing are incorporated herein pursuant to Fed. R. Civ. P. 52, as made
                                                      11
                                                            applicable to these proceedings via Fed. R. Bankr. P. 9014(c) and 7052. For the reasons stated on
              1731 Village Center Circle, Suite 150




                                                      12
                                                            the record by the Court at the hearing,
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                   IT IS HEREBY ORDERED:
                                                      14
                                                                   1.      The Motion is GRANTED;
                                                      15
                                                                   2.      The Trustee is hereby authorized and directed to abandon the Collateral (as defined
                                                      16
                                                            in the Motion) to HASelect;
                                                      17
                                                                   3.      The abandonment ordered and directed and relief granted herein shall specifically
                                                      18
                                                            exclude the non-Collateral Confidential Information (as defined in Party in Interest HealthPlus
                                                      19
                                                            Imaging of Texas, LLCs (HealthPlus) Limited Objection to Chapter 7 Trustee and HASelect 
                                                      20
                                                            Medical Receivables Litigation Finance Fund International SPs Joint Motion to Approve
                                                      21
                                                            Abandonment of Collateral [ECF No. 77] (Limited Objection)) in Debtors possession relating to
                                                      22
                                                            receivables owned by HealthPlus (and as identified in Exhibits A-1 and A2 of HealthPlus Limited
                                                      23
                                                            Objection);
                                                      24
                                                                   4.      The abandonment ordered and directed and relief granted herein shall specifically
                                                      25
                                                            exclude the Tecumseh Receivables as defined in Party in Interest Tecumseh  Infinity Medical
                                                      26
                                                            Receivable Fund, LPs (Tecumseh) Objection to Joint Motion to Approve Abandonment of
                                                      27
                                                            Collateral [ECF No. 82] (Tecumseh Objection) and as identified in Exhibit A and, to the extent
                                                      28


                                                                                                        Page 2 of 5
                                                           Case 21-14486-abl       Doc 309     Entered 07/17/24 13:41:21         Page 13 of 144



                                                       1
                                                            marked as assigned to Tecumseh, Exhibit B to the Meyer Declaration [ECF No. 59] as well as any
                                                       2
                                                            records relating exclusively thereto or any proceeds thereof, and, to the extent that there are records
                                                       3
                                                            that relate both to the Collateral and to the Tecumseh Receivables, the Trustee will retain a copy of
                                                       4
                                                            such records pending further order of this Court;
                                                       5
                                                                   5.      This order shall not apply to the money in deposit accounts held in the name of the
                                                       6
                                                            Debtor on the Petition Date (which is now in the possession of the Trustee, and held in estate
                                                       7
                                                            accounts), and such funds shall not be deemed abandoned;
                                                       8
                                                                   6.      Infinity and its officers, directors, and agents shall promptly deliver or make available
                                                       9
                                                            to HASelect any and all Collateral that remains in their possession or control, including all copies
                                                      10
                                                            of physical documents and electronically stored information constituting Collateral, as well as any
                                                      11
                                                            and all such Collateral that may come into their possession or control in the future;
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                                                      12
                                                                   7.      Infinity and its officers, directors, and agents shall reasonably cooperate with
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                            HASelect in its efforts to locate and take possession or control of the Collateral and shall not impede
                                                      14
                                                            or otherwise interfere in such efforts in any way;
                                                      15
                                                                   8.      Any person that is or may come into possession of any of the Collateral is hereby
                                                      16
                                                            authorized and directed to turnover such Collateral to HASelect;
                                                      17
                                                                   9.      Any person obligated as to payment of any account receivable included in the
                                                      18
                                                            Collateral is hereby authorized and directed to remit payment when due directly to HASelect or its
                                                      19
                                                            designee at such location as HASelect may designate;
                                                      20
                                                                   10.     HASelect is authorized and entitled to endorse any check made payable to Infinity
                                                      21
                                                            relating to any account receivable included within the Collateral;
                                                      22
                                                                   11.     The Bankruptcy Court shall retain jurisdiction to interpret and enforce the provisions
                                                      23
                                                            of this Order; and
                                                      24
                                                                   12.     This Order shall take effect immediately upon entry and shall not be stayed pursuant
                                                      25
                                                            to Bankruptcy Rules 6004(h) or otherwise.
                                                      26
                                                                   IT IS SO ORDERED.
                                                      27

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                                                                                                         Page 3 of 5
                                                           Case 21-14486-abl      Doc 309    Entered 07/17/24 13:41:21   Page 14 of 144



                                                       1
                                                       2    Submitted by:
                                                       3    SHEA LARSEN

                                                       4    /s/ Bart K. Larsen, Esq.
                                                            Bart K. Larsen, Esq.
                                                       5    Nevada Bar No. 8538
                                                            1731 Village Center Circle, Suite 150
                                                       6    Las Vegas, Nevada 89134
                                                       7    Attorneys for HASelect-Medical Receivables
                                                            Litigation Finance Fund International SP
                                                       8
                                                       9
                                                      10

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                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                                           Case 21-14486-abl      Doc 309      Entered 07/17/24 13:41:21        Page 15 of 144



                                                       1                                      LR 9021 CERTIFICATION
                                                       2           In accordance with LR 9021, counsel submitting this document certifies that the order
                                                            accurately reflects the courts ruling and that (check one):
                                                       3
                                                                          The court has waived the requirement set forth in LR 9021(b)(1).
                                                       4
                                                                          No party appeared at the hearing or filed an objection to the motion.
                                                       5
                                                                          I have delivered a copy of this proposed order to all counsel who appeared at the
                                                       6                  hearing, and any unrepresented parties who appeared at the hearing, and each has
                                                                          approved or disapproved the order, or failed to respond, as indicated below [list
                                                       7                  each party and whether the party has approved, disapproved, or failed to respond to
                                                                          the document]:
                                                       8
                                                               Name                                         Approve             Reject          No Response
                                                       9
                                                               Robert E. Atkinson, Esq.
                                                      10       Chapter 7 Trustee
                                                      11       Clarisse L. Crisostomo, Esq.
                                                               Attorney for Chapter 7 Trustee
              1731 Village Center Circle, Suite 150




                                                      12
                                                               Matthew C. Zirzow, Esq.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13       Attorney for Debtor Infinity Capital
                        (702) 471-7432




                                                               Management, Inc.
                                                      14
                                                               Michael D. Napoli, Esq.
                                                      15       Attorney for Tecumseh  Infinity
                                                               Medical Receivables Fund, L.P.
                                                      16
                                                               David Mincin, Esq.
                                                      17       Jacob M. Stephens, Esq.
                                                               Attorneys for HealthPlus Imaging of
                                                      18       Texas, LLC
                                                      19
                                                                          I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                                                      20                  order with the motion pursuant to LR 9014(g), and that no party has objected to the
                                                                          form or content of the order.
                                                      21
                                                                   I declare under penalty of perjury that the foregoing is true and correct.
                                                      22
                                                                                                          /s/ Bart K. Larsen, Esq.
                                                      23                                                  Bart K. Larsen, Esq.
                                                      24
                                                      25                                                  # # #
                                                      26
                                                      27

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Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 16 of 144




                                         EXHIBIT 2
                                                           Case 21-14486-abl       Doc 309     Entered 07/17/24 13:41:21        Page 17 of 144



                                                       1
                                                       2
                                                       3

                                                       4

                                                       5
                                                       6    Bart K. Larsen, Esq.
                                                            Nevada Bar No. 8538
                                                       7    Kyle M. Wyant, Esq.
                                                            Nevada Bar No. 14652
                                                       8    SHEA LARSEN
                                                            1731 Village Center Circle, Suite 150
                                                       9    Las Vegas, Nevada 89134
                                                            Telephone: (702) 471-7432
                                                      10    Fax: (702) 926-9683
                                                            Email: blarsen@shea.law
                                                      11             kwyant@shea.law
              1731 Village Center Circle, Suite 150




                                                      12    Attorneys for HASelect-Medical
                                                            Receivables Litigation Finance Fund
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13    International SP
                        (702) 471-7432




                                                                                     UNITED STATES BANKRUPTCY COURT
                                                      14
                                                                                                DISTRICT OF NEVADA
                                                      15
                                                            In re:
                                                      16                                                               Case No. 21-14486-abl
                                                                     INFINITY CAPITAL MANAGEMENT,                      Chapter 7
                                                      17             INC.
                                                                                                                       Date: October 12, 2021
                                                      18                           Debtor.                             Time: 3:00 p.m.

                                                      19
                                                      20             ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY

                                                      21             The Motion for Relief from Automatic Stay (the Motion) [ECF No. 17] filed by HASelect-

                                                      22    Medical Receivables Litigation Finance Fund International SP (HASelect) came before the Court

                                                      23    for hearing on October 12, 2021. HASelect appeared through its counsel of record, Bart K. Larsen,

                                                      24    Esq. of the law firm of Shea Larsen. The Chapter 7 Trustee Robert E. Atkinson, Esq. appeared

                                                      25    personally and through his counsel of record, Clarisse L. Crisostomo, Esq. of the law firm of Atkinson

                                                      26    Law Associates Ltd. Debtor Infinity Capital Management, Inc. (Debtor or Infinity) appeared

                                                      27    through its counsel of record, Matthew C. Zirzow, Esq. of the law firm of Larson & Zirzow.

                                                      28    HealthPlus Imaging of Texas, LLC appeared through its counsel of record, David Mincin, Esq. of the


                                                                                                         Page 1 of 5
                                                           Case 21-14486-abl       Doc 309      Entered 07/17/24 13:41:21         Page 18 of 144



                                                       1
                                                            law firm of Mincin Law, PLLC and Jacob M. Stephens, Esq. of the law firm of Irelan McDaniel,
                                                       2
                                                            PLLC. Tecumseh  Infinity Medical Receivables Fund, L.P. appeared through its counsel of record,
                                                       3
                                                            Michael D. Napoli, Esq. of the law firm of Akerman LLP.
                                                       4
                                                                   At the hearing, the Court heard argument and representations from counsel, deliberated
                                                       5
                                                            thereon, and then read its ruling into the record. All findings of fact and conclusions of law orally
                                                       6
                                                            stated by the Court at the hearing are incorporated herein pursuant to Fed. R. Civ. P. 52, as made
                                                       7
                                                            applicable to these proceedings via Fed. R. Bankr. P. 9014(c) and 7052. For the reasons stated on
                                                       8
                                                            the record by the Court at the hearing,
                                                       9
                                                                   IT IS HEREBY ORDERED:
                                                      10
                                                                   1.      The Motion is GRANTED;
                                                      11
                                                                   2.      The automatic stay imposed under section 362(a) of the Bankruptcy Code shall
              1731 Village Center Circle, Suite 150




                                                      12
                                                            terminate, effective immediately upon the entry of this Order, as to the Collateral (as defined in the
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                            Motion) to permit HASelect to immediately take possession and control of the Collateral, wherever
                                                      14
                                                            it may be located, and to otherwise enforce its security interest and rights in the Collateral consistent
                                                      15
                                                            with its rights under the MLA and applicable law;
                                                      16
                                                                   3.      The termination of the automatic stay ordered and directed and the relief granted
                                                      17
                                                            herein shall specifically exclude the non-Collateral Confidential Information (as defined in Party in
                                                      18
                                                            Interest HealthPlus Imaging of Texas, LLCs (HealthPlus) Limited Objection to Chapter 7 Trustee
                                                      19
                                                            and HASelect  Medical Receivables Litigation Finance Fund International SPs Joint Motion to
                                                      20
                                                            Approve Abandonment of Collateral [ECF No. 77] (Limited Objection)) in Debtors possession
                                                      21
                                                            relating to receivables owned by HealthPlus (and as identified in Exhibits A-1 and A2 of HealthPlus
                                                      22
                                                            Limited Objection);
                                                      23
                                                                   4.      The termination of the automatic stay ordered and directed and the relief granted
                                                      24
                                                            herein shall specifically exclude the Tecumseh Receivables as defined in Party in Interest Tecumseh
                                                      25
                                                             Infinity Medical Receivable Fund, LPs (Tecumseh) Objection to Joint Motion to Approve
                                                      26
                                                            Abandonment of Collateral [ECF No. 82] (Tecumseh Objection) and as identified in Exhibit A
                                                      27
                                                            and, to the extent marked as assigned to Tecumseh, Exhibit B to the Meyer Declaration [ECF No.
                                                      28


                                                                                                          Page 2 of 5
                                                           Case 21-14486-abl       Doc 309      Entered 07/17/24 13:41:21         Page 19 of 144



                                                       1
                                                            59] as well as any records relating exclusively thereto or any proceeds thereof, and, to the extent that
                                                       2
                                                            there are records that relate both to the Collateral and to the Tecumseh Receivables, the Trustee will
                                                       3
                                                            retain a copy of such records pending further order of this Court;
                                                       4
                                                                   5.      HASelect shall not, without further court order, take possession or control of the
                                                       5
                                                            money in deposit accounts held in the name of the Debtor on the Petition Date (which is now in the
                                                       6
                                                            possession of the Trustee, and held in estate accounts);
                                                       7
                                                                   6.      Infinity and its officers, directors, and agents shall promptly deliver or make available
                                                       8
                                                            to HASelect any and all Collateral that remains in their possession or control, including all copies
                                                       9
                                                            of physical documents and electronically stored information constituting Collateral, as well as any
                                                      10
                                                            and all such Collateral that may come into their possession or control in the future;
                                                      11
                                                                   7.      Infinity and its officers, directors, and agents shall reasonably cooperate with
              1731 Village Center Circle, Suite 150




                                                      12
                                                            HASelect in its efforts to locate and take possession or control of the Collateral and shall not impede
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                            or otherwise interfere in such efforts in any way;
                                                      14
                                                                   8.      Any person that is or may come into possession of any of the Collateral is hereby
                                                      15
                                                            authorized and directed to turnover such Collateral to HASelect;
                                                      16
                                                                   9.      Any person obligated as to payment of any account receivable included in the
                                                      17
                                                            Collateral is hereby authorized and directed to remit payment when due directly to HASelect or its
                                                      18
                                                            designee at such location as HASelect may designate;
                                                      19
                                                                   10.     HASelect is authorized and entitled to endorse any check made payable to Infinity
                                                      20
                                                            relating to any account receivable included within the Collateral;
                                                      21
                                                                   11.     The Bankruptcy Court shall retain jurisdiction to interpret and enforce the provisions
                                                      22
                                                            of this Order; and
                                                      23
                                                                   12.     This Order shall take effect immediately upon entry and shall not be stayed pursuant
                                                      24
                                                            to Bankruptcy Rules 4001(a)(3) or otherwise.
                                                      25
                                                                   IT IS SO ORDERED.
                                                      26
                                                      27

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                                                                                                          Page 3 of 5
                                                           Case 21-14486-abl      Doc 309    Entered 07/17/24 13:41:21   Page 20 of 144



                                                       1
                                                       2     Prepared and Submitted:
                                                       3
                                                             /s/ Bart K. Larsen, Esq.
                                                       4     BART K. LARSEN, ESQ.
                                                             Nevada Bar No. 8538
                                                       5     SHEA LARSEN
                                                             1731 Village Center Circle, Suite 150
                                                       6     Las Vegas, Nevada 89134
                                                       7     Attorneys for HASelect-Medical Receivables
                                                             Litigation Finance Fund International SP
                                                       8
                                                       9
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                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                                           Case 21-14486-abl      Doc 309      Entered 07/17/24 13:41:21        Page 21 of 144



                                                       1                                      LR 9021 CERTIFICATION
                                                       2           In accordance with LR 9021, counsel submitting this document certifies that the order
                                                            accurately reflects the courts ruling and that (check one):
                                                       3
                                                                          The court has waived the requirement set forth in LR 9021(b)(1).
                                                       4
                                                                          No party appeared at the hearing or filed an objection to the motion.
                                                       5
                                                                          I have delivered a copy of this proposed order to all counsel who appeared at the
                                                       6                  hearing, and any unrepresented parties who appeared at the hearing, and each has
                                                                          approved or disapproved the order, or failed to respond, as indicated below [list
                                                       7                  each party and whether the party has approved, disapproved, or failed to respond to
                                                                          the document]:
                                                       8
                                                               Name                                         Approve             Reject          No Response
                                                       9
                                                               Robert E. Atkinson, Esq.
                                                      10       Chapter 7 Trustee
                                                      11       Clarisse L. Crisostomo, Esq.
                                                               Attorney for Chapter 7 Trustee
              1731 Village Center Circle, Suite 150




                                                      12
                                                               Matthew C. Zirzow, Esq.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13       Attorney for Debtor Infinity Capital
                        (702) 471-7432




                                                               Management, Inc.
                                                      14
                                                               Michael D. Napoli, Esq.
                                                      15       Attorney for Tecumseh  Infinity
                                                               Medical Receivables Fund, L.P.
                                                      16
                                                               David Mincin, Esq.
                                                      17       Jacob M. Stephens, Esq.
                                                               Attorneys for HealthPlus Imaging of
                                                      18       Texas, LLC
                                                      19                  I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                                                                          order with the motion pursuant to LR 9014(g), and that no party has objected to the
                                                      20                  form or content of the order.
                                                      21           I declare under penalty of perjury that the foregoing is true and correct.
                                                      22                                                  /s/ Bart K. Larsen, Esq.
                                                                                                          Bart K. Larsen, Esq.
                                                      23

                                                      24
                                                                                                          # # #
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Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 22 of 144




                                         EXHIBIT 3
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 23 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 24 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 25 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 26 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 27 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 28 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 29 of 144




                                         EXHIBIT 4
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 30 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 31 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 32 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 33 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 34 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 35 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 36 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 37 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 38 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 39 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 40 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 41 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 42 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 43 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 44 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 45 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 46 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 47 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 48 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 49 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 50 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 51 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 52 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 53 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 54 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 55 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 56 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 57 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 58 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 59 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 60 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 61 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 62 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 63 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 64 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 65 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 66 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 67 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 68 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 69 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 70 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 71 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 72 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 73 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 74 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 75 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 76 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 77 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 78 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 79 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 80 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 81 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 82 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 83 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 84 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 85 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 86 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 87 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 88 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 89 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 90 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 91 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 92 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 93 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 94 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 95 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 96 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 97 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 98 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 99 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 100 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 101 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 102 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 103 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 104 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 105 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 106 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 107 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 108 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 109 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 110 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 111 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 112 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 113 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 114 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 115 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 116 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 117 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 118 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 119 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 120 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 121 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 122 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 123 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 124 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 125 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 126 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 127 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 128 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 129 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 130 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 131 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 132 of 144




                                          EXHIBIT 5
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 133 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 134 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 135 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 136 of 144




                                          EXHIBIT 6
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 137 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 138 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 139 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 140 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 141 of 144
Case 21-14486-abl   Doc 309   Entered 07/17/24 13:41:21   Page 142 of 144




                                          EXHIBIT 7
                                                           Case 21-14486-abl      Doc 309    Entered 07/17/24 13:41:21      Page 143 of 144



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                                                       5
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                                                                                      UNITED STATES BANKRUPTCY COURT
                                                      14
                                                                                          FOR THE DISTRICT OF NEVADA
                                                      15

                                                      16     In re:                                        Case No.: 21-14486-abl
                                                                                                           Chapter 7
                                                      17     INFINITY CAPITAL MANAGEMENT,
                                                             INC.                                          Date of Hearing: August 22, 2024
                                                      18                                                   Time of Hearing: 9:30 a.m.
                                                                            Debtor.
                                                      19
                                                                    ORDER GRANTING MOTION TO ENFORCE COURT ORDERS AND
                                                      20
                                                                  REQUIRE HEALTHPLUS IMAGING OF TEXAS, LLC AKA HEALTHPLUS
                                                      21                IMAGING, LLC TO REMIT PAYMENTS RELATING TO
                                                                                   ACCOUNTS RECEIVABLE
                                                      22
                                                                      The Court, having considered HASelect-Medical Receivables Litigation Finance Fund
                                                      23
                                                            International LP’s (“HASelect”) Motion to Enforce Court Orders and Require HealthPlus Imaging
                                                      24
                                                            of Texas, LLC aka HealthPlus Imaging, LLC to Remit Payments Relating to Accounts Receivable
                                                      25
                                                            (the “Motion”), which came on for hearing at the above-referenced time and date, the Court
                                                      26
                                                            noticing appearances on the record, and after considering the Motion, lack of any written
                                                      27
                                                            opposition thereto, and after hearing arguments of counsel, the Court made findings of fact and
                                                      28


                                                                                                      Page 1 of 2
                                                           Case 21-14486-abl      Doc 309       Entered 07/17/24 13:41:21      Page 144 of 144



                                                       1
                                                            conclusions of law on the record at the hearing, which are incorporated herein by reference
                                                       2
                                                            pursuant to Fed. R. Civ. P. 52, and finding that due process was afforded to all interested parties
                                                       3
                                                            and good cause appearing;
                                                       4
                                                                   IT IS HEREBY ORDERED that the Motion is GRANTED;
                                                       5
                                                                   IT IS FURTHER ORDERED that HealthPlus Imaging of Texas, LLC aka HealthPlus
                                                       6
                                                            Imaging, LLC (“HealthPlus”) and its former owners and managers, Stephanie Lam and Diane Lam
                                                       7
                                                            (collectively, the “Lams”) shall:
                                                       8
                                                                   1.      Within fourteen (14) days after the entry of this Order deliver to HASelect a
                                                       9
                                                            complete accounting of all amounts collected on the HealthPlus Accounts (as defined in the
                                                      10
                                                            Motion) from and after September 14, 2021 (the “Petition Date”);
                                                      11
                                                                   2.      Within fourteen (14) days after the entry of this Order deliver to HASelect payment
              1731 Village Center Circle, Suite 150




                                                      12
                                                            in full for all amounts due and owing under HealthPlus’ agreement(s) with Infinity Capital
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                            Management, Inc. (“Infinity”) based on or arising from HealthPlus’ or the Lams’ collection of
                                                      14
                                                            HealthPlus Accounts from and after the Petition Date;
                                                      15
                                                                   3.      Within fourteen (14) days after any future collection of any HealthPlus Account,
                                                      16
                                                            notify HASelect in writing of such collection and remit payment to HASelect of any and all
                                                      17
                                                            amounts due and owing under HealthPlus’ written agreement(s) with Infinity; and
                                                      18
                                                                   4.      Immediately cease and refrain from any and all efforts to directly collect any
                                                      19
                                                            HealthPlus Account from any person obligated as to payment or to otherwise interfere with
                                                      20
                                                            HASelect’s efforts to collect the HealthPlus Accounts.
                                                      21
                                                                   IT IS FURTHER ORDERED that this Court shall retain jurisdiction to interpret and
                                                      22
                                                            enforce the provisions of this Order.
                                                      23
                                                                   IT IS SO ORDERED.
                                                      24
                                                            Respectfully submitted by:
                                                      25    SHEA LARSEN PC

                                                      26    By: /s/ Bart K. Larsen, Esq.
                                                            BART K. LARSEN, ESQ.
                                                      27    KYLE M. WYANT, ESQ.
                                                            Attorneys for HASelect-Medical Recievables
                                                      28    Litigation Finance Fund International SP


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